Case: 2:17-cv-00587-JLG-EPD Doc #: 45 Filed: 09/17/18 Page: 1 of 2 PAGEID #: 407


                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

KEN JOHANSEN on behalf of himself and :          Case No. 2:17-cv-587
others similarly situated,            :
                                      :          Judge Graham
        Plaintiff,                    :
                                      :          Magistrate Judge Deavers
v.                                    :
                                      :
NATIONAL GAS & ELECTRIC LLC,          :
                                      :
        Defendant.                    :

                                   NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Ken Johansen, on behalf of himself and others

similarly situated, hereby appeals to the United States Court of Appeals for the Sixth Circuit

from the Court’s Order and Judgment entered in this action on the 16h day of August, 2018,

granting summary judgment to Defendant.

                                              Respectfully submitted,

                                              /s/ Brian K. Murphy
                                              Brian K. Murphy (0070654), Trial Attorney
                                              Jonathan P. Misny (0090673)
                                              Murray Murphy Moul + Basil LLP
                                              1114 Dublin Road
                                              Columbus, OH 43215
                                              Telephone: 614.488.0400
                                              Facsimile: 614.488.0401
                                              E-mail: murphy@mmmb.com
                                                      misny@mmmb.com

                                              Anthony Paronich (admitted pro hac vice)
                                              Edward A. Broderick (admitted pro hac vice)
                                              Broderick & Paronich, P.C.
                                              99 High Street, Suite 304
                                              Boston, MA 02110
                                              E-mail: anthony@broderick-law.com
                                                      ted@broderick-law.com

                                              Counsel for Plaintiff
Case: 2:17-cv-00587-JLG-EPD Doc #: 45 Filed: 09/17/18 Page: 2 of 2 PAGEID #: 408




                               CERTIFICATE OF SERVICE

       I hereby certify that on September 17, 2018, the foregoing was filed using the CM/ECF

system, which will automatically provide notice to the following by electronic means:

John L. Landolfi
Christopher C. Wager
Vorys, Sater, Seymour & Pease LLP
52 East Gay Street
Columbus, OH 43215
jllandolfi@vorys.com
ccwager@vorys.com

Michelle Pector
Ezra Church
Ben Williams
Morgan, Lewis & Bockius LLP
1000 Louisiana, Suite 4000
Houston, TX 77002
Michelle.pector@morganlewis.com
Ezra.church@morganlewis.com
Ben.williams@morganlewis.com


                                            /s/ Brian K. Murphy
                                            Brian K. Murphy




                                               2
